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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

UNITED STATES OF AMERICA ex rel.                    §
STEPHEN DEAN,                                       §
                                                    §
       Plaintiffs,                                  § Civ. No. 4:14-CV-203
                                                    §
v.                                                  § JURY TRIAL DEMANDED
                                                    §
PARAMEDICS PLUS, L.L.C., et al.,                    §
                                                    §
       Defendants.                                  §

       ETMC DEFENDANTS’ REPLY TO UNITED STATES’ RESPONSE TO ETMC
               DEFENDANTS’ EMERGENCY MOTION TO QUASH

To the Honorable Court:

       Defendants Paramedics Plus, LLC (“Paramedics Plus”), East Texas Medical Center

Regional Healthcare System (“ETMC System”), East Texas Medical Center Regional Health

Services, Inc. (together with ETMC System, “ETMC”) (collectively the “ETMC Defendants”)

file this Reply to United States’ Response to ETMC Defendants’ Emergency Motion to Quash

and would respectfully show:

       In its reply, the government misstates that the primary issue that the ETMC Defendants

have with the Government’s Motion is that they failed to meet and confer in accordance with the

local rules.1 This is not the case. While the ETMC Defendants do contend that the United States

failed to meet and confer in accordance with the local rules, the ETMC Defendants chief

complaint with the government’s motion is that they did not and cannot show the necessary

1
  Apparently the government believes it is exempt from the local rules meet-and-confer requirements
because it is the government, and because motions for garnishment are exempt from the local rules meet-
and-confer requirements. However, the United States did not file a motion for garnishment, a post-
judgment remedy, but instead filed a pre-judgment motion for sequestration, an extraordinary remedy,
which is not listed on the motions exempt from the local rules meet-and-confer requirement. Nor does the
United States contend Motions for Sequestration are listed. Their argument, then, is that such motions
“should be” exempt from the local rules meet-and-confer requirements. But they are not.
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proof in order to be entitled to an order for sequestration. The ETMC Defendants expect to be

able to show that the United States is not entitled to such relief upon hearing of the Court. The

ETMC Defendants were unable to fully brief this issue because the government’s manufactured

“emergency” created a real emergency for the ETMC Defendants in that if such order is not

dissolved today, the planned sale will not go forward, and ETMC will default on its bonds,

putting healthcare in East Texas at jeopardy. For such reason, the ETMC Defendants request a

hearing on this matter as soon as possible today.


Date: February 27, 2018                             Respectfully submitted,



                                                    By: /s/ Otis Carroll
                                                    Otis W. Carroll, Jr.
                                                    State Bar No. 03895700
                                                    Collin M. Maloney
                                                    State Bar No. 00794219
                                                    Mandy Nelson
                                                    State Bar No. 24055270
                                                    IRELAND, CARROLL & KELLEY, P.C.
                                                    6101 S. Broadway Ste. 500
                                                    Tyler, TX 75703
                                                    (903) 561.1600
                                                    otiscarroll@icklaw.com
                                                    cmaloney@icklaw.com
                                                    mnelson@icklaw.com

                                                    T. John Ward
                                                    State Bar No. 20848000
                                                    WARD, SMITH, & Hill PLLC
                                                    1507 Bill Owens Parkway
                                                    Longview, TX 75604
                                                    (903) 757.6400
                                                    tjw@wsfirm.com

                                                    Michael C. Coker
                                                    ADAMS & COKER, P.C.
                                                    State Bar. No. 04527100
                                                    4540 Kinsey Drive
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                                                   Tyler, TX 75703
                                                   (903) 581.1196
                                                   mikecoker@adams-coker.com

                                                   Scott E. Stevens
                                                   State Bar No. 00792024
                                                   David P. Henry
                                                   State Bar No. 24027015
                                                   STEVENS | HENRY
                                                   P.O. Box 3427
                                                   Longview, Texas 75606
                                                   Telephone: (903) 7536760
                                                   Fax: (903) 753-6761
                                                   scott@stevenshenry.com
                                                   david@stevenshenry.com


                                                   Kyle J. Nelson
                                                   State Bar No. 24056031
                                                   NELSON LAW FIRM
                                                   5380 Old Bullard Rd., Ste 600-187
                                                   Tyler, Texas 75703
                                                   (903) 561-8449
                                                   kyle@knelsonlaw.com



                               CERTIFICATE OF SERVICE

       By my signature below, I do hereby certify that on February 27, 2018, a true and correct
copy of the foregoing documents was filed using the Court’s electronic filing system, which will
provide notice to all parties of record, specifically:

       James Gillingham
       United States Attorney’s Office
       Tyler Office
       110 North College, Ste. 700
       Tyler, Texas 75702


                                            By:    /s/ Otis W. Carroll
                                                   Otis W. Carroll
